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                                                                   7   Counsel to Bradley D. Sharp,
                                                                       Chapter 11 Trustee
                                                                   8                            UNITED STATES BANKRUPTCY COURT
                                                                                                 CENTRAL DISTRICT OF CALIFORNIA
                                                                   9
                                                                                                      LOS ANGELES DIVISION
                                                                  10
                                                                        In re                                           Case No.: 2:23-bk-10990-NB
                                                                  11
P ACHULSKI S TANG Z IEHL & J ONES LLP




                                                                        LESLIE KLEIN,                                   Chapter 11
                                                                  12
                                                                                            Debtor.                     AMENDED REPLY OF CHAPTER 11
                                        LOS ANGELES, CALIFORNIA




                                                                  13
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                                                                                                                        TRUSTEE TO SUPPLEMENTAL
                                                                  14                                                    DECLARATION OF DANIEL A.
                                                                                                                        CRAWFORD IN OPPOSITION TO
                                                                  15                                                    REQUEST FOR SANCTIONS AWARD -
                                                                                                                        ATTORNEY FEE RATES
                                                                  16
                                                                                                                        Prior Hearings:
                                                                  17                                                    Date:        April 8, 2025 and May 20, 2025
                                                                                                                        Courtroom: 1545
                                                                  18                                                    Location: 255 E. Temple Street
                                                                                                                                     Los Angeles, CA 90012
                                                                  19                                                    Judge:       Hon. Neil W. Bason

                                                                  20                                                    Continued Sanctions Hearing:
                                                                                                                        Date:       June 17, 2025
                                                                  21                                                    Time:       1:00 p.m.
                                                                                                                        Courtroom: 1545
                                                                  22                                                    Location: 255 E. Temple Street
                                                                                                                                    Los Angeles, CA 90012
                                                                  23                                                    Judge:      Hon. Neil W. Bason

                                                                  24                                                    [Relates to Docket Nos. 229, 969, 997, 999, 1026,
                                                                                                                        1030, 1039, 1092 and 1102]
                                                                  25

                                                                  26             Bradley D. Sharp, the duly appointed chapter 11 trustee (the “Trustee”) of the bankruptcy

                                                                  27   estate of Leslie Klein (the “Debtor”), hereby files this reply (the “Reply”) to the Supplemental

                                                                  28   Declaration of Daniel Crawford in Opposition to Request for Sanctions Award [Docket No. 1100]


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                                                                   1   (the “Supplemental Declaration”) filed by Daniel Crawford in response to the Second Interim

                                                                   2   Order Granting Motion for Order Enforcing the Automatic Stay and Sanctions Against (A) Debtor,

                                                                   3   (B) Daniel Crawford, (C) Crawford Law Group, (D) Leslie Klein & Associates, and (E) EKLK

                                                                   4   Foundation [Docket No. 1092] (the “Second Interim Order”). In support of the Reply, the Trustee

                                                                   5   represents as follows:

                                                                   6            THE RATES OF PACHULSKI STANG ZIEHL & JONES ARE REASONABLE

                                                                   7             This Court has twice previously considered and determined that the rates of Pachulski Stang

                                                                   8   Ziehl & Jones, LLP (“PSZJ”) are reasonable. Earlier in this case, the Office of the United States

                                                                   9   Trustee (the “UST”) filed an objection [Docket No. 185] (the “UST Objection”) to PSZJ’s retention

                                                                  10   application. By the UST Objection, the UST questioned the reasonableness of PSZJ’s rates. PSZJ

                                                                  11   filed a response [Docket No. 229] (the “PSZJ Response”) wherein PSZJ outlined the rates it
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                                                                  12   previously had approved by bankruptcy judges in the Central District of California where PSZJ
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                                                                  13   represented chapter 7 and 11 trustees. PSZJ Response, 8:1-27.
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                                                                  14             Mr. Crawford contends that the PSZJ Response is inadequate because it demonstrates that the

                                                                  15   rates therein are only the “usual hourly rates at the time . . . [but not] evidence of reasonable hourly

                                                                  16   rates.” Supplemental Declaration, 3:3-7. However, the rates reflected in the PSZJ Response are

                                                                  17   comparable to the rates charged by PSZJ and other firms representing chapter 7 or 11 trustees of

                                                                  18   financially troubled or mismanaged bankruptcy estates.

                                                                  19             Mr. Crawford fails to appreciate that in each of the representations cited in the PSZJ

                                                                  20   Response, the trustee’s counsel was required to obtain the bankruptcy court’s authorization to

                                                                  21   employ PSZJ. Accordingly, in each of those cases, the Court definitively would not have permitted

                                                                  22   the applicable trustee to employ PSZJ unless the firm’s hourly rate structure was reasonable.

                                                                  23   Similarly, Judge Sandra Klein (who formerly presided over this case), already approved PSZJ’s

                                                                  24   retention [Docket No. 330] (the “Retention Order”), which established that the firm’s rates are

                                                                  25   reasonable. While it is true that Retention Order did not “pre-approve” any fees PSZJ would seek, at

                                                                  26   that juncture the primary analysis relates to the necessity of the services for which fee are sought.

                                                                  27   This Court already found that Mr. Crawford, his firm, the Debtor, Les Klein & Associates, and

                                                                  28   EKLK Foundation violated the automatic stay and that the fees incurred by the Trustee were


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                                                                   1   obviously necessary to protect and preserve valuable assets of the estate. It is difficult to understand

                                                                   2   how PSZJ’s rate could be recognized as unreasonable after the rate structure was already approved.

                                                                   3             In further support of the Trustee’s and PSZJ’s position, the chart below shows the orders

                                                                   4   entered by this Court in each respective case identified below regarding the bankruptcy court

                                                                   5   approved retentions of PSZJ and the approval of the payment of fees:

                                                                   6    In re Penthouse Global Media, Inc., Case No. 18-bk-10098-MB (Bankr. C.D. Cal.),
                                                                   7    Retention Order                    Docket No. 374
                                                                        Fee Order                          Docket No. 1134
                                                                   8    In re Layfield & Barrett, APC, Case No. 17-bk-19548-NB (Bankr. C.D. Cal.)
                                                                        Retention Order                    Docket No. 102
                                                                   9    Fee Order                          Docket No. 643
                                                                        In In re KSL Media, Inc., et al., Case No. 13-bk-15929-MB (Bankr. C.D. Cal.),
                                                                  10
                                                                        Retention Order                    Docket No. 253
                                                                  11    Fee Order                          Docket No. 1736
                                                                        In re Solyman and Massoud Yashouafar, Case No.16-bk-12255-GM (Bankr. C.D. Cal.)
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                                                                  12    Retention Order                    Docket No. 244
                                                                        Fee Order                          Docket No. 875
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                                                                        In re Georges Marciano, et al., Case No. 11-bk-10426-VK (Bankr. C.D. Cal.)
                                                                  14    Retention Order                    Docket No. 322
                                                                        Fee Order                          Docket No. 2833
                                                                  15    In re Ezri Namvar, Case No. 08-bk-32349-BR (Bankr. C.D. Cal.)
                                                                        Retention Order                    Docket No. 156
                                                                  16
                                                                        Fee Order                          Docket No. 1882
                                                                  17
                                                                                 Mr. Crawford contends that the PSZJ Response is unhelpful because “PSZJ’s statement
                                                                  18
                                                                       about its own rates could not establish anything but PSZJ’s own rates charged.” Supplemental
                                                                  19
                                                                       Declaration, 4:1-2. Mr. Crawford’s criticism is short-sighted because he fails to recognize, as
                                                                  20
                                                                       reflected in the chart above, that the rates in the above cases were not “simply charged” by PSZJ and
                                                                  21
                                                                       paid by the applicable client but approved by this Court in different cases where PSZJ acted as
                                                                  22
                                                                       counsel in a substantially similar capacity. Indeed, there could not be a better indication of the rates
                                                                  23
                                                                       prevailing in the community for similar services by lawyers of reasonably comparable skill,
                                                                  24
                                                                       experience, and reputation than the rates charged by PSZJ acting as counsel for a trustee of a
                                                                  25
                                                                       troubled bankruptcy estate where its retention application disclosed the hourly rate structure that was
                                                                  26
                                                                       approved by the bankruptcy court along with the fees incurred, which in both instances require that
                                                                  27
                                                                       such fees be reasonable.
                                                                  28


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                                                                   1             Most recently, PSZJ filed the First Application of Pachulski Stang Ziehl & Jones LLP for

                                                                   2   Interim Approval of Compensation and Reimbursement of Expenses as General Bankruptcy Counsel

                                                                   3   to the Chapter 11 Trustee (the “Interim Application”) [Docket No. 1056]. By the Interim

                                                                   4   Application, PSZJ sought payment of fees and reimbursement of expenses representing the Trustee

                                                                   5   since his appointment. Erica and Joseph Vago filed an opposition to the Interim Application [Docket

                                                                   6   No. 1087] (the “Vago Opposition”), which contested the reasonableness of PSZJ’s hourly rates. The

                                                                   7   Court overruled the Vago Opposition. See [Docket No. 1115] (the “PSZJ Fee Order”).

                                                                   8             As set forth in Exhibit 1 of the PSZJ Fee Order, the Court found that:

                                                                   9                       Judge Klein (who previously presided over this case) has already
                                                                                           determined that Trustee’s Counsel’s hourly billing rates are
                                                                  10                       appropriate in view of the circumstances of this case (dkt. 330, the
                                                                                           “Employment Order”). It would be unfair for this Court to now
                                                                  11                       change the rules and revisit the reasonableness of Trustee’s
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                                                                  12                       Counsel’s hourly billing rates (as opposed to the reasonableness of
                                                                                           the services performed) after Trustee’s Counsel has performed a
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                                                                  13                       significant amount of work in reliance on the previously approved
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                                                                                           employment terms.
                                                                  14
                                                                       PSZJ Fee Order, Exhibit 1, ECF Pg. No. 10.
                                                                  15
                                                                                 In the end, the practice area for some firms might be limited to the greater Los Angeles area
                                                                  16
                                                                       (and those firms might have rates that are less than PSZJ’s) but the practice of bankruptcy law is not
                                                                  17
                                                                       limited to Los Angeles nor should PSZJ be required to reduce its rates to the lowest common
                                                                  18
                                                                       denominator. As a firm with a national practice, clients inside and outside the greater Los Angeles
                                                                  19
                                                                       area look to PSZJ for its experience advising troubled bankruptcy estates and PSZJ charges the rates
                                                                  20
                                                                       that are commensurate with its services.
                                                                  21
                                                                                 As set forth in the PSZJ Response (and the record of the case generally), this is decidedly not
                                                                  22
                                                                       an ordinary case, which was one of the primary reasons Mr. Sharp was selected as the trustee. The
                                                                  23
                                                                       Debtor’s estate is complex and messy; Mr. Sharp selected PSZJ as his counsel because the firm had
                                                                  24
                                                                       the necessary experience to advise the Trustee on how to proceed in the most cost-effective and
                                                                  25
                                                                       efficient manner. Unfortunately, bankruptcy cases that are predicated on fraud and mismanagement
                                                                  26
                                                                       are expensive by definition. The abusive actions taken in conscious disregard of the automatic stay
                                                                  27

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                                                                   1   – such as those Mr. Crawford and the others took in this case – only cause those expenses to increase

                                                                   2   dramatically.

                                                                   3             Mr. Crawford and the other parties found to have violated the stay fail to recognize that they

                                                                   4   completely ignored the “free pass” they received with respect to the probate action Mr. Crawford

                                                                   5   improperly filed. As the Court’s record reflects, PSZJ made repeated attempts to engage with Mr.

                                                                   6   Crawford prior to filing the motion to enforce the stay and seek sanctions. Mr. Crawford simply

                                                                   7   refused to engage with PSZJ despite its numerous entreaties. Instead, Mr. Crawford ultimately sent

                                                                   8   PSZJ a misguided letter that purported to outline why his actions were not violative of the automatic

                                                                   9   stay.

                                                                  10             As discussed above, this Court found that PSZJ’s hourly rates were reasonable for the period

                                                                  11   of May 2023 through February 2025. Plus, the PSZJ Response and the Retention Order also support
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                                                                  12   that PSZJ’s rates in this and other cases are reasonable, otherwise PSZJ’s retention would not have
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                                                                  13   been approved. The Trustee’s counsel should not be required to “reinvent the wheel” to establish the
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                                                                  14   reasonableness of its rates each time a party has to be sanctioned for violating the automatic stay.

                                                                  15             For the reasons set forth herein and all the other pleadings filed in support, the Supplemental

                                                                  16   Declaration should be overruled, and the Court should impose joint-and-several sanctions against

                                                                  17   Mr. Crawford, the Debtor, Les Klein & Associates, The Crawford Law Group, and EKLK

                                                                  18   Foundation.

                                                                  19   Dated: June 9, 2025                             PACHULSKI STANG ZIEHL & JONES LLP

                                                                  20
                                                                                                                       By:      /s/ John W. Lucas
                                                                  21                                                          John W. Lucas
                                                                  22                                                          Attorneys for Bradley D. Sharp,
                                                                                                                              Chapter 11 Trustee
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